              Case 1:22-cv-00452-LY Document 1 Filed 05/11/22 Page 1 of 17




                                    UNITED STATES DISTRICT COURT
                                      WESTERN DISTRICT OF TEXAS
                                            AUSTIN DIVISION

 EUNICE PRIETO MOLINA,
 INDIVIDUALLY and AS
 REPRESENTATIVE OF THE
 ESTATE OF ARMANDO
 MASCORRO, Jr.; LEIDI
 SILVESTRE as next friend of
 A.S.M., A MINOR, A.N.M., A
 MINOR and Y.M., A MINOR,

 Plaintiffs,

 v.                                                   CIVIL ACTION NO. 1:22-CV-452

 BASTROP COUNTY SHERIFF’S
 OFFICE, CHRIS GRIFFIN,
 STEVIE SHAE BURCHELL,
 JOSEPH HINES, CAMERON
 JONSE, KATHERINE NEWTON,
 JUNIOR TUCKER, MATTHEW
 HICKS, STEVEN TODD
 JOHNSON, CHRIS NOBLE and
 KELLY L. MERKER,

 Defendants.


                                    PLAINTIFF’S ORIGINAL COMPLAINT


         Plaintiffs, Eunice Prieto Molina, Individually and as Representative of the Estate of

Armando Mascorro, Jr., and Leidi Silvestre as next friend of A.S.M., A.N.M., and Y.M., minors,

bring this action against the Bastrop County Sheriff’s Office (“Bastrop County”), Texas

Department of Public Safety (“TDPS”), BASTROP COUNTY SHERIFF’S OFFICE, CHRIS

GRIFFIN, STEVIE SHAE BURCHELL, JOSEPH HINES, CAMERON JONSE, KATHERINE

NEWTON, JUNIOR TUCKER, MATTHEW HICKS, STEVEN TODD JOHNSON, CHRIS

NOBLE, and KELLY L. MERKER, (collectively, the individual Defendants shall sometimes be

Priet o M o li na v. B as tr o p Cou n ty, e t al .                          Pa g e 1
Plai n tif f ’s Or ig i nal C om pla i nt
              Case 1:22-cv-00452-LY Document 1 Filed 05/11/22 Page 2 of 17




referred to as “THE OFFICERS”) for damages pursuant to 42 U.S.C. §1981, §1983, §1985, and

§1988, the Fourth, Fifth and Fourteenth Amendments to the United States Constitution.

Jurisdiction is based upon 28 U.S.C. §§1331 and 1343, and under 28 U.S.C. §1367(a).

         Each of THE OFFICERS are directly responsible for the in custody death of Armando

Mascorro, Jr. and/or the intentional and contrived deception to cover up facts relating to the

incident related to his death. Prior to his death, several of THE OFFICERS used their batons and

TASERS to beat and torture Armando Mascorro, Jr. Some of THE OFFICERS also tied Armando

Mascorro, Jr. to a horse provided by Deputy Junior Tucker and dragged him for some distance.

THE OFFICERS actions resulted in physical pain, mental anguish, disfigurement, impairment and

ultimate death to Armando Mascorro, Jr. Seven of the Defendants (Griffin, Burchell, Hines, Jonse,

Miller, Newton, and Tucker) worked for the BASTROP COUNTY SHERIFFI’S OFFICE at the

time of the incident in question. These officers will sometimes be referred to as the “BASTROP

OFFICERS”. The BASTROP OFFICERS’ policy and Constitutional violations were committed

as a result of the policies and customs of the Bastrop County Sheriff’s Office, and due to the

intentional and malicious intent to harm Armando Mascorro, Jr.. Specifically, the BASTROP

COUNTY SHERIFF’S OFFICE, through its policies and mandates encouraged the harassment of

Hispanic men and women, and also had inadequate policies regarding hiring, retention, and

training of excessive force measures, as well as inadequate disciplinary procedures.

         Plaintiffs herein comply with the pleading requirements of FRCP Rule 8(a)(2) and the

requirements of Ashcroft v. Iqbal, 556 U.S. 129 S.Ct. 1937, 1949 (2009) that “A claim has facial

plausibility when the plaintiff pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.”




Priet o M o li na v. B as tr o p Cou n ty, e t al .                              Pa g e 2
Plai n tif f ’s Or ig i nal C om pla i nt
              Case 1:22-cv-00452-LY Document 1 Filed 05/11/22 Page 3 of 17




                                                      I. PARTIES

1.       Eunice Prieto Molina, (“Plaintiff Molina”) is a citizen of the United States of America,

resides in Travis County, Texas and is the mother of Armando Mascorro, Jr. She brings this claim

in her individual capacity as a statutory wrongful death beneficiary and as an heir to the Estate of

Armando Mascorro, Jr. pursuant to Texas Civil Practices and Remedies Code §§ 71.002 et. seq.

and § 71.021.

2.       Leidi Silvestre as next friend of her children: A.S.M., A.N.M., and Y.M., minors. The

minors are the natural children of Armando Mascorro, Jr., and statutory wrongful death claimants.

Silvestre brings this wrongful death action pursuant to Texas Civil Practices and Remedies Code

§§ 71.002 et. seq. and § 71.021.

3.       Defendant, Bastrop County Sheriff’s Office, (“The County” or “Bastrop County”) is a

governmental entity located within the boundaries of the Austin Division of the Western District

of Texas. Defendant Bastrop County Sheriff’s Office can be served through the Sheriff, Maurice

Cook, 200 Jackson Street, Bastrop, Texas 78602. Citation is requested at this time.

4.       Defendant, Chris Griffin, was at all times relevant to this cause of action a duly appointed

and acting deputy of the Bastrop County Sheriff’s Office and working within the course and scope

of his employment with the Bastrop County Sheriff’s Office. Defendant will be extended the

opportunity to accept service of process pursuant to FRCP 4(d). If Defendant fails or refuses to

accept service as requested, then the Plaintiffs will request service of process pursuant to FRCP

4(e) upon Defendant. Citation is requested at this time.

5.       Defendant, Stevie Shae Burchell, was at all times relevant to this cause of action a duly

appointed and acting deputy of the Bastrop County Sheriff’s Office and working within the course

and scope of her employment with the Bastrop County Sheriff’s Office. Defendant will be



Priet o M o li na v. B as tr o p Cou n ty, e t al .                                Pa g e 3
Plai n tif f ’s Or ig i nal C om pla i nt
              Case 1:22-cv-00452-LY Document 1 Filed 05/11/22 Page 4 of 17




extended the opportunity to accept service of process pursuant to FRCP 4(d). If Defendant fails or

refuses to accept service as requested, then the Plaintiffs will request service of process pursuant

to FRCP 4(e) upon Defendant. Citation is requested at this time.

6.       Defendant, Joseph Hines, was at all times relevant to this cause of action a duly appointed

and acting deputy of the Bastrop County Sheriff’s Office and working within the course and scope

of his employment with the Bastrop County Sheriff’s Office. Defendant will be extended the

opportunity to accept service of process pursuant to FRCP 4(d). If Defendant fails or refuses to

accept service as requested, then the Plaintiffs will request service of process pursuant to FRCP

4(e) upon Defendant. Citation is requested at this time.

7.       Defendant, Cameron Jonse, was at all times relevant to this cause of action a duly appointed

and acting deputy of the Bastrop County Sheriff’s Office and working within the course and scope

of his employment with the Bastrop County Sheriff’s Office. Defendant will be extended the

opportunity to accept service of process pursuant to FRCP 4(d). If Defendant fails or refuses to

accept service as requested, then the Plaintiffs will request service of process pursuant to FRCP

4(e) upon Defendant. Citation is requested at this time.

8.       Defendant, Katherine Newton, was at all times relevant to this cause of action a duly

appointed and acting deputy of the Bastrop County Sheriff’s Office and working within the course

and scope of her employment with the Bastrop County Sheriff’s Office. Defendant will be

extended the opportunity to accept service of process pursuant to FRCP 4(d). If Defendant fails or

refuses to accept service as requested, then the Plaintiffs will request service of process pursuant

to FRCP 4(e) upon Defendant. Citation is requested at this time.

9.       Defendant, Junior Tucker, was at all times relevant to this cause of action a duly appointed

and acting deputy of the Bastrop County Sheriff’s Office and working within the course and scope



Priet o M o li na v. B as tr o p Cou n ty, e t al .                                Pa g e 4
Plai n tif f ’s Or ig i nal C om pla i nt
              Case 1:22-cv-00452-LY Document 1 Filed 05/11/22 Page 5 of 17




of his employment with the Bastrop County Sheriff’s Office. Defendant will be extended the

opportunity to accept service of process pursuant to FRCP 4(d). If Defendant fails or refuses to

accept service as requested, then the Plaintiffs will request service of process pursuant to FRCP

4(e) upon Defendant. Citation is requested at this time.

10.      Defendant, Kelly L. Merker, was at all times relevant to this cause of action a duly

appointed and acting officer of the Texas Department of Public Safety, and working within the

course and scope of his employment with the Texas Department of Public Safety. Defendant will

be extended the opportunity to accept service of process pursuant to FRCP 4(d). If Defendant fails

or refuses to accept service as requested, then the Plaintiffs will request service of process pursuant

to FRCP 4(e) upon Defendant. Citation is requested at this time.

11.      Defendant, Matthew Hicks, was at all times relevant to this cause of action a duly appointed

and acting deputy of the Elgin Police Department and working within the course and scope of his

employment with the Elgin Police Department. Defendant will be extended the opportunity to

accept service of process pursuant to FRCP 4(d). If Defendant fails or refuses to accept service as

requested, then the Plaintiffs will request service of process pursuant to FRCP 4(e) upon

Defendant. Citation is requested at this time.

12.      Defendant, Stephen Todd Johnson, was at all times relevant to this cause of action a duly

appointed and acting deputy of the Elgin Police Department and working within the course and

scope of his employment with the Elgin Police Department. Defendant will be extended the

opportunity to accept service of process pursuant to FRCP 4(d). If Defendant fails or refuses to

accept service as requested, then the Plaintiffs will request service of process pursuant to FRCP

4(e) upon Defendant. Citation is requested at this time.




Priet o M o li na v. B as tr o p Cou n ty, e t al .                                  Pa g e 5
Plai n tif f ’s Or ig i nal C om pla i nt
              Case 1:22-cv-00452-LY Document 1 Filed 05/11/22 Page 6 of 17




13.      Defendant, Chris Noble, was at all times relevant to this cause of action a duly appointed

and acting deputy of the Elgin Police Department, and working within the course and scope of his

employment with the Elgin Police Department. Defendant will be extended the opportunity to

accept service of process pursuant to FRCP 4(d). If Defendant fails or refuses to accept service as

requested, then the Plaintiffs will request service of process pursuant to FRCP 4(e) upon

Defendant. Citation is requested at this time.

                                          II. JURISDICTION AND VENUE

14.      42 U.S.C. §1983, 42 U.S.C. §1985, and 42 U.S.C. §1988 provide jurisdiction over

Plaintiffs’ constitutional claims for redress, which are conferred on this Court by 28 U.S.C.

§1343(a)(3).

15.      Federal question jurisdiction is conferred on this Court by 28 U.S.C. §1331, because this

action arises under the Constitution and laws of the United States.

16.      This Court also has pendent jurisdiction over all other claims asserted under the laws of

the State of Texas, pursuant to 28 U.S.C. §1367(a).

17.      Venue is proper in the Western District of Texas, Austin Division, as this is the district

where the claim arose in accordance with 28 U.S.C. §1391(b).

18.      This court has personal jurisdiction over Bastrop County as it is a political subdivision of

the State of Texas, located within the boundaries of the Austin Division of the United States Court

for the Western District of Texas.

                                      III. DUTY AND LAW APPLICABLE

19.      Armando Mascorro, Jr., was subjected to excessive force in violation of his rights

guaranteed to him by the Fourth and Fourteenth Amendments of the United States Constitution.

20.      Plaintiffs commence this action pursuant to 42 U.S.C. §1983, which provides in relevant



Priet o M o li na v. B as tr o p Cou n ty, e t al .                                Pa g e 6
Plai n tif f ’s Or ig i nal C om pla i nt
               Case 1:22-cv-00452-LY Document 1 Filed 05/11/22 Page 7 of 17




part for redress for every person within the jurisdiction of the United States for the deprivation,

under color of state law, of any rights, privileges, or immunities secured by the Constitution and

laws of the United States.

21.      Plaintiffs also commence this action under 42 U.S.C. §1985(3), which creates, in relevant

parts, a cause of action for conspiracies designed to deprive “persons of the equal protection of the

laws, or the equal privileges and immunities under the laws.”

22.      THE OFFICERS, who were acting under the color of law, are liable under 42 U.S.C. §1983

and 42 U.S.C. §1985(3).

23.      THE OFFICERS are liable to Plaintiffs because they used excessive force against Armando

Mascorro, Jr., in violation of his rights under the Fourth and Fourteenth Amendment, and because

they engaged in a conspiracy designed to deprive the Plaintiffs of equal protections of the laws,

equal privileges or immunities of the laws, and the access to the courts and due process.

24.      Defendant Bastrop County Sheriff’s Office is liable to Plaintiffs because they:

         1.]       Had inadequate policies for preventing use of force violations by their officers;

         2.]       Had an inadequate training program for training their officers in the proper use of

force;

         3.]       Had an inadequate hiring policy in that they failed to screen out potential officers

who presented a plainly obvious risk of committing use of force violations;

         4.]       Had an inadequate disciplinary policy in practice, in that the well-written policy in

the handbook was not followed, and Bastrop County and Texas Department of Public Safety failed

to adequately punish, re-train, or sanction officers who committed excessive force and other policy

violations;

         5.]       Had a custom or practice of falsely reporting the circumstances related to an event



Priet o M o li na v. B as tr o p Cou n ty, e t al .                                   Pa g e 7
Plai n tif f ’s Or ig i nal C om pla i nt
               Case 1:22-cv-00452-LY Document 1 Filed 05/11/22 Page 8 of 17




involving use of force in an effort to justify the officers’ action(s), seeking to avoid discipline for

excessive force violations; and

         6.]       Under the tenure of Sheriff Maurice Cook, Bastrop County in recent years has

targeted Hispanic/Latino drivers, particularly Hispanic/Latino men. The harassment of

Hispanic/Latino individuals by the Bastrop County Sheriff’s Office is well documented. For

instance, in 2019 Sheriff Cook instituted a policy instructing deputies to make arrests for single

traffic violations. The intent of this policy was fulfilled when the number of Hispanic/Latino

individuals arrested in Bastrop County for simple (Class C misdemeanor) traffic violations

increased more than tenfold between 2017 and 2019. The number of these arrests that resulted in

ICE detention increased 76,000% (from 2 to 152). Armando Mascorro, Jr. was a Hispanic male.

                                           IV. FACTUAL ALLEGATIONS

25.      On or about the morning of September 1, 2020, Armando Mascorro, Jr. was traveling east

on US 290, in Bastrop County, Texas.

26.      According to the crash report, prepared by Trooper Merker, Armando Mascorro, Jr.

“unexpectedly fell out of the vehicle” and then proceeded to follow the vehicle to a pasture where

he “fought/assaulted officers investigating the crash.”

27.      The crash report is incomplete and omits many key facts. The report does not say how

Armando Mascorro, Jr. died. Bastrop County and the Attorney General, have, to the date of this

filing, refused to release any records related to the incident citing a pending investigation.

28.      Armando Mascorro, Jr. was pronounced dead at Heart Hospital of Austin on September 1,

2020. His medical records from Heart Hospital of Austin state that Armando Mascorro, Jr. “Was

tazed by police and subsequently became unresponsive.”




Priet o M o li na v. B as tr o p Cou n ty, e t al .                                  Pa g e 8
Plai n tif f ’s Or ig i nal C om pla i nt
               Case 1:22-cv-00452-LY Document 1 Filed 05/11/22 Page 9 of 17




29.      Merker’s report omits any reference to TASERS and batons. These omissions were

intentional misrepresentations by Trooper Merker designed to deprive the Plaintiffs of their rights.

30.      Upon information and belief, the involved agencies and officers have attempted to suppress

at least the following facts:

         1.]       Many of the OFFICERS were present at the scene of the incident in question and

                   used used batons and tasers on Armando Mascorro, Jr.

         2.]       Defendant BURCHELL used an ASP baton and closed fist punches on Mascorro,

                   Jr.;

         3.]       Defendant Griffin used an ASP baton and a TASER (several times) on Mascorro,

                   Jr.;

         4.]       Defendant Newton used an ASP baton and TASER on Mascorro, Jr.;

         5.]       Defendant Tucker provided a rope to restrain Mascorro, Jr.;

         6.]       Officers on the scene (including THE OFFICERS) tortured Armando Mascorro, Jr.

                   by beating him with batons, repeatedly using TASERS and tying him to a horse and

                   dragging his body behind the horse;

         7.]       The medical examiner has officially deemed the cause of death of Armando

                   Mascorro, Jr. as homicide by blunt force trauma;

         8.]       Subsequent to this incident occurring, Bastrop County Sheriff Maurice Cook

                   modified the use of force policy after this incident to eliminate the use of batons;

         9.]       Video footage exists of the beating, torture and ultimate murder of Armando

                   Mascorro, Jr. by THE OFFICERS;

         10.]      Bastrop County livestock astray officer, Deputy Junior Tucker, arrived at the scene

                   on horseback and at some point during the torturous events, officers on the scene



Priet o M o li na v. B as tr o p Cou n ty, e t al .                                    Pa g e 9
Plai n tif f ’s Or ig i nal C om pla i nt
             Case 1:22-cv-00452-LY Document 1 Filed 05/11/22 Page 10 of 17




                   (including THE OFFICERS) tied Armando Mascorro, Jr. to the horse and dragged

                   him for some distance;

           11.]    Defendant Noble instructed Defendant Hicks to turn off his body camera. This was

                   done in order to initiate the coverup and deception; and

           12.]    Trooper Kelly L. Merker, who prepared the crash report, was present at the scene

                   and participated in the incident. Trooper Merker intentionally misrepresented what

                   happened during the pursuit, engagement and murder of Armando Mascorro, Jr. to

                   protect the law enforcement officers involved in the torture and murder of

                   Mascorro, Jr., and to deprive the Plaintiffs of their federally protected rights.

31.        In addition to the omissions related to the official report prepared by Trooper Merker, the

coverup is even more extensive. Travelers Insurance carries a policy to indemnify Bastrop County

for the claims in this case. Plaintiffs’ attorney has corresponded with Travelers adjuster Virginia

King regarding this matter. In early 2022, Ms. King offered several thousand dollars to resolve

Plaintiffs’ claims in this case, but also expressed that she could not offer more money because she

did not have all the information by which she could assess completely the facts and liability

components. On March 10, 2022, Ms. King emailed Plaintiffs’ counsel stating she was awaiting

video from Bastrop County that would allow her to complete her assessment for the insurance

company. Ms. King indicated that “I spoke with our account contacts today and the video is being

copied and sent to me. I am told it will be in the mail tomorrow. I will let you know as soon as I

get it.”

32.        Plaintiffs’ counsel followed up with Ms. King on March 21, 2022 and Ms. King again

indicated she had not received the relevant videos. To date, Ms. King has not forwarded any videos

to Plaintiffs’ counsel.



Priet o M o li na v. B as tr o p Cou n ty, e t al .                                    Pa g e 1 0
Plai n tif f ’s Or ig i nal C om pla i nt
             Case 1:22-cv-00452-LY Document 1 Filed 05/11/22 Page 11 of 17




33.      In short, Bastrop County and its officers have endeavored a coverup so extensive they will

not even share the relevant, important information relating to Mascorro’s death with their own

insurance company.

34.      Bastrop County and its officers and employees recognize that their deception is held

together only by their unity and common desire to hide the truth and deprive the Plaintiffs of the

opportunity to learn the facts of Mascorro’s death and pursue the remedies provided under federal

law and the Seventh Amendment to the United States Constitution.

35.      For this orchestrated deception and deprivation of rights, the Defendants must be held

accountable.

36.      As a result of the excessive force used against Armando Mascorro, Jr., the Plaintiffs have

suffered permanent and severe psychological damage and trauma.

37.      The Plaintiffs continue to endure permanent and severe psychological damage and trauma.

38.      Throughout the interaction between Armando Mascorro, Jr. and The Officers of the Bastrop

County Sheriff’s Office and the Texas Department of Public Safety, there was no need or

justification for the excessive force and his ultimate murder.

                V. BASTROP COUNTY’S POLICIES, CUSTOMS AND PRACTICES

39.      Bastrop County Sheriff’s Office had an obligation to train THE BASTROP OFFICERS in

the constitutional rules of the use of force. That training must go further than the broad contours

of the Fourth Amendment but must also include information on when and what type of force is

constitutionally appropriate. On information and belief, THE BASTROP OFFICERS were not

trained in the overall contours of the Fourth Amendment prohibitions against excessive force. Such

training deliberately ignores admonition by the Fifth Circuit that such actions are inappropriate.




Priet o M o li na v. B as tr o p Cou n ty, e t al .                              Pa g e 1 1
Plai n tif f ’s Or ig i nal C om pla i nt
             Case 1:22-cv-00452-LY Document 1 Filed 05/11/22 Page 12 of 17




                              VIOLATIONS OF BASTROP COUNTY POLICY

40.      The County promulgates a manual for Bastrop County Sheriff officers. THE BASTROP

OFFICERS are expected to know the policies and abide by the policies. Failure to comply with

the policies should be noted by THE BASTROP OFFICERS and supervisors, and officers should

be disciplined accordingly.

41.      Plaintiff has a reasonable belief that the actions of THE OFFICERS violated the polices of

Bastrop County as written and applied but cannot allege these violations more specifically at this

time because Defendants have not provided a copy of their policies to Plaintiff.

42.      Additionally, no Bastrop County peace officer interceded, and no officer reported the

actions of THE OFFICERS to a supervisor.

                                               VII. CAUSES OF ACTION

Bastrop County

43.      The acts and failures of Defendants on the occasion in question were unreasonable and

were the proximate and producing cause of the injuries and damages suffered by the Plaintiffs.

Bastrop County Sheriff’s Office is liable to Plaintiffs under 42 U.S.C. §1983 for acting with

deliberate indifference, in failing to provide to THE OFFICERS supervision and training regarding

the reasonable use of force. THE OFFICERS were not trained to use force based on objective facts

available to them at the time of the incident.

44.      THE OFFICERS’ use of force against a suspect who was only suspected of stealing a

vehicle, the County’s refusal to discipline or reprimand THE OFFICERS for their actions and

inactions amounts to ratification of the act after the fact. By ratifying THE OFFICERS’ use of

excessive force as well as the officers’ attempt to cover up and suppress information regarding

what actually happened to Armando Mascorro, Jr., Bastrop County demonstrated deliberate



Priet o M o li na v. B as tr o p Cou n ty, e t al .                                Pa g e 1 2
Plai n tif f ’s Or ig i nal C om pla i nt
             Case 1:22-cv-00452-LY Document 1 Filed 05/11/22 Page 13 of 17




indifference to the civil rights of Armando Mascorro, Jr. and citizens of Bastrop County. Further,

The County’s failure to reprimand THE OFFICERS and the County’s “rubber stamp” of THE

OFFICERS’ actions shows a reluctance to enforce its own policies and lends itself to recurring

situations and continued violations of civil rights by other officers.

45.      Additionally, Sheriff Cook and other Bastrop County employees were complicit,

acquiescent and or active in the deception, coverup and conspiracy that has deprived the Plaintiffs’

of the equal protection of the laws. These acts were motivated by selfish, evil, and malicious intent

against the Plaintiffs and involved reckless or callous indifference to the federally protected rights

of the Plaintiffs, in violation of 42 U.S.C. §1985(3).

THE OFFICERS

46.      THE OFFICERS, while acting under color of law, used objectively unreasonable force

against Armando Mascorro, Jr. by beating him, tasering him, dragging him behind a horse and

ultimately murdering him. Said actions violated Armando Mascorro, Jr.’s Fourth Amendment right

to be free from the use of excessive force.

47.      Armando Mascorro, Jr. was accused of committing a nonviolent crime, was unarmed and

did not pose a threat to THE OFFICERS or the general public.

48.      The need for such force was non-existent and there were no circumstances that justified

THE OFFICERS murder of Armando Mascorro, Jr.

49.      Plaintiffs plead that THE OFFICERS used excessive force during the arrest and/or other

“seizure” of a free citizen, such as Armando Mascorro, Jr. in violation of the Fourth Amendment

and its “reasonableness” standard. Said actions resulted directly and only from the intentional use

of force that was clearly excessive to the need, and the excessiveness of which was objectively

unreasonable.



Priet o M o li na v. B as tr o p Cou n ty, e t al .                               Pa g e 1 3
Plai n tif f ’s Or ig i nal C om pla i nt
             Case 1:22-cv-00452-LY Document 1 Filed 05/11/22 Page 14 of 17




50.      Such actions and/or omissions are “objectively unreasonable” in light of the facts and

circumstances confronting THE OFFICERS without regard to the underlying intent or motivation.

Clearly, careful attention to the facts and circumstances of this particular case demonstrates the

unreasonableness of said actions. For these reasons, it is objectively unreasonable for THE

OFFICERS to torture, beat, drag behind a horse and ultimately murder Armando Mascorro, Jr.

51.       Defendant Bastrop County is also liable under well-established theories of municipal and

supervisory liability.

52.       THE OFFICERS’ wrongful acts were wanton, malicious, and done with the specific intent

to cause substantial injury to Armando Mascorro, Jr. rendering appropriate the award of punitive

damages against the individual Defendants.

53.      Each of The Officers were complicit, acquiescent and or active in the deception, coverup

and conspiracy that has deprived the Plaintiffs’ of the equal protection of the laws. These acts were

motivated by selfish, evil, and malicious intent against the Plaintiffs and involved reckless or

callous indifference to the federally protected rights of the Plaintiffs, in violation of 42 U.S.C.

§1985(3).



                                                      VIII. DAMAGES

54.      Defendants deprived Armando Mascorro, Jr. of his civil rights under the United States

Constitution and under federal law. Moreover, these acts and omissions by Defendants, their

agents, employees, and/or representatives, proximately caused and/or were the moving force

behind the injuries and damages to Plaintiffs, and those same acts and/or omissions proximately

caused and/or were the moving force behind the wrongful death of Armando Mascorro, Jr.

Accordingly, Plaintiffs Eunice Prieto Molina, Individually and as Representative of the Estate of



Priet o M o li na v. B as tr o p Cou n ty, e t al .                               Pa g e 1 4
Plai n tif f ’s Or ig i nal C om pla i nt
             Case 1:22-cv-00452-LY Document 1 Filed 05/11/22 Page 15 of 17




Armando Mascorro, Jr., and Leidi Silvestre next friend of A.S.M., A.N.M., and Y.M., minors,

assert claims under 42 U.S.C. § 1983 and the Texas wrongful death and survivorship statutes.

55.      Plaintiff Eunice Prieto Molina, as Representative of the Estate of Armando Mascorro, Jr.,

in their capacities as statutory heirs asserting survival claims on behalf of Armando Mascorro, Jr.’s

Estate, have incurred damages including, but not limited to, the following:

         •    Physical pain and mental anguish suffered by Armando Mascorro, Jr. prior to his

              death; and

         •    Funeral and burial expenses.

56.      Plaintiff Leidi Silvestre, as next friend of A.S.M., A.N.M., and Y.M., Armando Mascorro,

Jr.’s surviving minor children, asserting a wrongful death claim, have incurred damages including,

but not limited to, the following:

         •    Past and future mental anguish; and

         •    Past and future loss of companionship, society, services, and affection with their

              father.

57.      Plaintiff Eunice Prieto Molina, in her individual capacity asserting a wrongful death claim

on behalf of her son, has incurred damages including, but not limited to, the following:

         •    Past and future mental anguish; and

         •    Past and future loss of companionship, society, services, and affection with her son.

58.      Plaintiffs have suffered severe mental pain and suffering. These damages are in excess of

the minimal jurisdictional limits of this Court and were proximately caused by the actions and

omissions of the Defendants.

                                         IX. EXPEMPLARY DAMAGES

59.      The conduct of THE OFFICERS justifies an award of punitive and exemplary damages


Priet o M o li na v. B as tr o p Cou n ty, e t al .                                Pa g e 1 5
Plai n tif f ’s Or ig i nal C om pla i nt
             Case 1:22-cv-00452-LY Document 1 Filed 05/11/22 Page 16 of 17




against THE OFFICERS individually due to their extreme, outrageous and unjustifiable conduct,

especially due to the malicious acts related to the coverup and deprivation of their federally

protected rights under 42 U.S.C. 1985(3).                   THE OFFICERS acted with malice and acted

intentionally, recklessly, or with callous indifference to the unlawful deprivation of Plaintiffs’

constitutionally and statutorily protected rights.

                                               X. ATTORNEY’S FEES

60.      The Plaintiffs have been required to retain the services of attorneys to represent them in

this complex and difficult proceeding and cause of action. The Plaintiffs have retained the

undersigned attorneys to represent them, and pursuant to 42 U.S.C. §1988(b) of the Federal Civil

Rights Act, they are entitled to recover for their reasonable and necessary fees incurred for these

attorneys, and the reasonable and necessary expenses incurred in the pursuit of this claim at the

trial level, the Court of Appeals level if the case is appealed to that Court, and in the Supreme

Court of the United States, if necessary.

                                      XI. PRESERVATION OF EVIDENCE

61.      Plaintiffs request and demand that all Defendants in this case retain, preserve, and protect

from loss, damage, discard, or destruction all physical, written or electronic items that are, or may

be, evidence of the incident above described, which may form the basis of this Complaint,

including, but not limited to video, recorded statements, photographs, e-mails, text messages, and

personal or official notes made by any of THE OFFICERS, the County of Bastrop or the Texas

Department of Public Safety.

                                                      XII. JURY DEMAND

62.      Plaintiffs respectfully demand a trial by jury.




Priet o M o li na v. B as tr o p Cou n ty, e t al .                                  Pa g e 1 6
Plai n tif f ’s Or ig i nal C om pla i nt
             Case 1:22-cv-00452-LY Document 1 Filed 05/11/22 Page 17 of 17




                                                      XIII. PRAYER

         For these reasons, Plaintiffs ask for judgment against all Defendants for the following:

         a. Trial by jury on all issues triable to a jury;

         b. Judgment against Defendants, jointly and severally, on behalf of the Plaintiffs for actual

              damages pursuant to 42 U.S.C. §1983 and 42 U.S.C. §1985(d);

         c. Punitive damages as to the THE OFFICERS;

         d. Statutory and reasonable attorney fees pursuant to 42 U.S.C. §1988(b) of the Federal

              Civil Rights Act, pre-judgment interest, post-judgment interest, and all of their costs

              herein expended; and

         e. Any and all additional relief to which the Plaintiffs may appear to be entitled.



   Filed this _____ day of _____________, 2022.


                                                         Respectfully submitted,

                                                         DC LAW, PLLC

                                                         1012 W. Anderson Lane
                                                         Austin, Texas 78757
                                                         (512) 220-1800 Telephone
                                                         (512) 220-1801 Facsimile

                                                         By: /s/ Robert L. Ranco
                                                         Robert L. Ranco
                                                         SBN: 24029785
                                                         robert@texasjustice.com
                                                         Attorney for Plaintiff




Priet o M o li na v. B as tr o p Cou n ty, e t al .                                 Pa g e 1 7
Plai n tif f ’s Or ig i nal C om pla i nt
